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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

 UNITED STATES OF AMERICA

               v.
                                           Crim. No. 1:18-cr-83 (TSE)
 PAUL J. MANAFORT, JR.,


               Defendant.


                                      STATUS REPORT

       The United States of America, by and through Special Counsel Robert S. Mueller, III,

hereby files this status report notifying the Court that on September 14, 2018, Paul Manafort, Jr.,

pleaded guilty to a two count Superseding Criminal Information in United States v. Manafort,

1:17-201-1 (D.D.C.) (ABJ) (S-5).      A copy of the Superseding Criminal Information, Plea

Agreement, and Statement of the Offenses and Other Acts are attached to this filing.



                                                     Respectfully submitted,

                                                     ROBERT S. MUELLER, III
                                                     Special Counsel

Dated: September 14, 2018                            /s/
                                                     Andrew Weissmann
Uzo Asonye                                           Greg D. Andres
Assistant United States Attorney                     Brandon L. Van Grack
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 14th day of September, 2018, I will cause to be filed

electronically the foregoing with the Clerk of Court using the CM/ECF system, which will then

send a notification of such filing (NEF) to the following:

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                                                           /s/
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